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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

SHENA BLAND CIVIL CASE

VERSUS 16-822-SDD-RLB

ALCO COLLECTIONS, INC.

JUDGMENT

For the written reasons assigned:

Judgment is hereby entered in favor of Plaintiff, Shena Bland, and against
Defendant, Alco Clollections, Inc. Plaintiff is awarded $1,000 in statutory damages and
costs in conformance with the Court’s order. Plaintiff's claims are dismissed with
prejudice. The putative class claims are dismissed without prejudice.

IT 1S SO ORDERED.

Signed in Baton Rouge, Louisiana on January 3, 2018.

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JUDGE SHetLy D. DICK
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

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